                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.



                                       CERTIFICATE OF SERVICE

               I, James E. O’Neill, hereby certify that on the 29th day of March, 2022, I caused a
copy of the following document(s) to be served on the individual(s) on the attached service list(s)
in the manner indicated:

                  Notice of Filing of Fee Application

                  Combined Fourth and Fifth Monthly Application and Second Interim Fee
                  Application of the Claro Group, LLC for Compensation for Services
                  Rendered and Reimbursement of Expenses Incurred as Expert Consultants
                  to the Official Tort Claimants’ Committee for the Period from December 1,
                  2021 through January 31, 2022

                  Verification


                                                       /s/ James E. O’Neill
                                                       James E. O’Neill (DE Bar No. 4042)




1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


DOCS_DE:238007.2 85353/002
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